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EXHIBIT 1
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SCC eFile 2019 ANNUAL REPORT 219506741
COMMONWEALTH OF VIRGINIA
STATE CORPORATION COMMISSION

1.) CORPORATION NAME: DUE DATE: 2/28/2019
COMPASS MARKETING, INC.
2.) VA REGISTERED AGENT NAME AND OFFICE ADDRESS: SCC ID NO: 04979506
BUSINESS FILINGS INCORPORATED
4701 Cox Rd Ste 285 5.) STOCK INFORMATION
Glen Allen, VA CLASS AUTHORIZED |

 

 

 

COMMON —_|1,500 |
3.) CITY OR COUNTY OF VA REGISTERED OFFICE:

HENRICO COUNTY

4.) STATE OR COUNTRY OF INCORPORATION:
VA

 

 

6.) PRINCIPAL OFFICE ADDRESS:

ADDRESS: 222 SEVEN AVE
BLDG 14 STE 200

CITY/ST/ZIP: ANNAPOLIS, MD 21403

 

7.) DIRECTORS AND PRINCIPAL OFFICERS: All directors and principal officers must be listed. An individual
may be designated as both a director and an officer.

 

 

 

[x] OFFICER [x ] DIRECTOR
NAME: MICHAEL R WHITE
TITLE: VP OPERATIONS
ADDRESS: 222 SEVEN AVE BLDG 14 STE 200
CITY/ST/ZIP/CO: ANNAPOLIS, MD 21403
[x] OFFICER [x] DIRECTOR
NAME: JOHN D WHITE
TITLE: CHAIRMAN /CEO
ADDRESS: 222 SEVEN AVE BLDG 14 STE 200
CITY/ST/ZIP/CO: ANNAPOLIS, MD 21403
[x] OFFICER DIRECTOR
NAME: DANIEL J WHITE
TITLE: OWNER
ADDRESS: 222 SEVEN AVENUE
BLDG 14 STE 200
CITY/ST/ZIP/CO: ANNAPOLIS, MD 21403

 

 

| AFFIRM THAT THE INFORMATION CONTAINED IN THIS ELECTRONIC REPORT IS ACCURATE AND
COMPLETE AS OF THE DATE BELOW AND THAT | AM LEGALLY AUTHORIZED TO SIGN THIS REPORT.

 

 

 

/s/ MICHAEL R WHITE MICHAEL R WHITE, VP 2/7/2019
SIGNATURE OF DIRECTOR/OFFICER OPERATIONS DATE
LISTED IN THIS REPORT PRINTED NAME AND CORPORATE
TITLE

 

It is a Class 1 misdemeanor for any person to sign a document, which includes this electronic record, that is false in any material
respect with the intent that the document be delivered to the Commission for filing.

 

 
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State Corporation Commission

 

CERTIFICATE OF GOOD STANDING

I Certify the Following from the Records of the Commission:

That COMPASS MARKETING, INC. is duly incorporated under the law of the Commonwealth of Virginia;
That the date of its incorporation is February 5, 1998:

That the period of its duration is perpetual: and

That the corporation is in existence and in good standing in the Commonwealth of Virginia as of
the date set forth below.

Nothing more is hereby certified.

   

a i
LIGIO
= = —=—24.
SS

Signed and Sealed at Richmond on this Date:

February 7, 2019

(Joel. H. Peck, Clerk of the Commission

 

CISECOM
Document Control Number: 1902075299
(889549 ANNUAL RECORDS SOLICITATION FORM **
SHAREHOLDERS, DIRECTORS AND OFFICERS

(Virginia Corporations)

I IMPORTANT! FOLLOW INSTRUCTIONS EXACTLY WHEN COMPLETING THIS FORM. PLEASE PRINT. I

Key Code Notice Date Corporation Number Incorporation Date

K510859066 12/31/2018 0497950 2/5/1998
Business Address

 

 

 

 

 

 

 

 

 

 

 

 

COMPASS MARKETING, INC.
222 SEVERN AVE STE 200 STE 14
ANNAPOLIS, MD 21403-2629

I]
4007-14-14"****AUTO™MIXED AADC 320 | |
| | :

 

Please Respond By
Jan. 25, 2019

 

 

 

 

On 2/14/2017, Virginia Council for Corporations, a private company, prepared and provided, for a fee, your 2017 corporate consent records in lieu of meeting
minutes in accordance with the following provisions of Virginia law:

VIRGINIA CODE § i3 .1-770: Corporate records ... “A corporation shall keep as permanent records minutes of all meetings of its shareholders and board of
directors ...”

VIRGINIA CODE § 13.1-654: Annual meeting ... “Unless directors are elected by written consent in lieu of an annual meeting as permitted by
§ 13 .1-657, a corporation shall hold a meeting of shareholders annually at a time stated in or fixed in accordance with the bylaws ...” VIRGINIA CODE §13.1-684
states that “The board of directors may hold regular or special meetings in or out of this Commonwealth..”

Corporate consent records may also be prepared by corporate officers or other agents. VIRGINIA COUNCIL FOR CORPORATIONS IS NOT A GOVERNMENT
AGENCY AND DOES NOT HAVE OR CONTRACT WITH ANY GOVERNMENT AGENCY TO PROVIDE THIS SERVICE. THIS DOES NOT FULFILL THE
VIRGINIA ANNUAL REPORT FILING PROVISION.

Please complete this Annual Records Solicitation Form. Your information will be kept confidential and will not be disclosed to third parties. Mail the completed
form with your payment of $150.00 payable to Virginia Council for Corporations in the enclosed envelope. If you have any questions, please email us at
services@councilforcorps.com or call us at (888) 408-0886.

Step 1. SHAREHOLDERS (Please make any necessary changes below. Additional fields available on reverse.)

 

 

 

JOHN D. WHITE

 

DANIEL J, WHITE

 

MICHAEL R. WHITE

 

 

Step 2. CORPORATE DIRECTORS (Please make any necessary changes below. Additional fields available on reverse.)

 

 

JOHN D. WHITE

 

DANIEL J, WHITE

 

MICHAEL R, WHITE

 

 

Step 3. CORPORATE OFFICERS (Please make any necessary changes below. Additional fields available on reverse.)

 

 

DANIEL J, WHITE, PRESIDENT

 

MICHAEL R. WHITE, VICE PRESIDENT

 

 

 

JOHN D. WHITE, CEO

 

 

 

Step 4. CONTACT PERSON (Please make any necessary changes below. Additional fields available on reverse.)

 

 

| Contact Name Contact Email Contact Phone
Michael R. White mwhite@compassmarketinginc.com 410-268-0030

 

 

 

 
2/7/2019

Case 1:21-cv-00309-Eittidial BpmsAnaIay AQe? Usikilet, Adore BARE 5 Of 14

This is a “printer friendly" page. Please use the "print" option in your browser to print this screen.

SCC eF lle

OFFICIAL _
PAYMENTS*

Ti

=», Virginia State Corporation Commission (SCC)

rast SiWPlE SECURE WA SOC Clerks Office

Confirmation Number:
Payment Date:
Payment Time:

Payer Information

Name:
Street Address:

Daytime Phone
Number:

E-mail Address:
Transaction Type:
Name of Filer:
Name of Entity:
SCC ID:

Card Information

Card Type:
Card Number:

Payment Information

Payment Type:
Payment Amount:

195492
Thursday, February 7, 2019
05:31AM PT

Michael White

222 Severn Ave

200

MD

Annapolis, MD 21403
United States

(410) 268 - 0030

mwhite@compassmarketinginc.com
Certificate Fee

Michael White

COMPASS MARKETING, INC.
04979506

American Express
Stkekwernere on 1 4

VA SCC Clerks Office
$6.00

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EXHIBIT 2
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Compass MARKETING

INCORPORATED

 

Resolution of the Board

It is hereby, this 17 day of July 2015, resolved by the Board of
Directors, that JOHN WHITE and DANIEL J. WHITE are hereby appointed as
the Co-Chief Executive Officers of Compass Marketing Inc. This
appointment is effective immediately.

 

oh hite
Chairman

 

Michael White
Director

Agu Le

Daniel J. White
Director
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EXHIBIT 3
9/14/24, 1:07 PM Case 1:21-cv-O6 30 EL IGA ne ASB EE BS) PI 31 Baye B BPaa 10:34

Compass: MARKETING John White <jwhite@compassmarketinginc.com>

Re: CCD SEVERANCE PMT 41 DW 20150CT15 10/15/2015 10:34

1 message

John White <jwhite@compassmarketinginc.com> Thu, Oct 15, 2015 at 10:54 AM
To: Daniel White <dwhite@compassmarketinginc.com>
Cc: "White, Michael Robert" <mwhite@compassmarketinginc.com>

Great work!

| also saw you got Janie and Mike O locked into the non compete!
Ecommerce is our rock now! Who would have ever thought....

| for one will be sleeping better this evening.

Thx Bro!
John

John White

Chairman/CEO

Compass Marketing Inc
www.compassmarketinginc.com

> On Oct 15, 2015, at 10:51 AM, Daniel White <dwhite@compassmarketinginc.com> wrote:
>

> Copy of first payment on the DiPaula/Miller severance attached.

>

> As a reminder, liwe agreed to 15k each for any/all pay and liability plus

> 20k to CD for his expenses (10 of which was his AYC initiation fee we

> agreed to pay a few years ago). 60k less than they asked for, and probably
> 75k less than the triple damages the AG would have made us pay.

>

> Will need 1099s for them at the end of the year.

>

>

> Daniel White

> Compass Marketing, Inc.

>

> mobile: 240-298-8156

> facsimile: 240-214-0414

> text: 2402988 156@vtext.com
>

> Forwarded message --
> From: Compass Marketing #18400 <printer@compassmarketinginc.com>
> Date: Thu, Oct 15, 2015 at 10:34 AM

> Subject: CCD SEVERANCE PMT 1 DW 20150CT15 10/15/2015 10:34

> To: Daniel White <dwhite@compassmarketinginc.com>

>

>

> Scanned from MFP07757190

> Date:10/15/2015 10:34

> Pages:2

> Resolution:300x300 DPI

oo

> <CCD SEVERANCE PAYMENT 1 DW 20150CT15-10152015103438.pdf>

 

 

https://mail.google.com/mail/u/O?ik=7e3e6921 7d&view=pt&search=all&permthid=thread-f%3A1515109173896902126%7Cmsg-f%3A1515109355... 1/1
 

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7 While it was not known at the time I first became engaged by Compass, Compass later discovered evidence that
strongly suggests Michael and Daniel White conspired with former Compass employees to steal Compass’ intellectual
Property and create a competitive company, which ultimately was purchased by a foreign entity.

® John White was hoping to have a conversation with Daniel and Michael White, but neither of his brothers would
respond to his overtures and, as a result, he had no choice but to terminate their employment via email.
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misappropriated millions of dollars. See Exhibit 3 (Signature Cards for
County First Bank Account).

b. Plaintiffs added their wives and Daniel White’s daughter to the Compass
Marketing payroll without authorization and caused the company to
contribute to their wives’ 401(k) plans without actually requiring any of
them to perform any duties for or on behalf of Compass Marketing.

c. Fraudulent and/or exorbitant payments were made to former employee
James “Chip” DiPaula, one of which appears to have passed through Daniel
White’s personal bank account. See Exhibit 4 (DWhite checks regarding
Chip DiPaula).

d. Improper and unauthorized comingling of Compass Marketing funds with
the personal bank accounts of Michael White and Daniel White. See e.g.
Exhibit 5 (MWhite Comingled Checks)’.

e. Personal “loans” allegedly made by Plaintiffs that were added to the
company’s books without any money ever changing hands. Interest and
repayments on those “loans” for the benefit of Plaintiffs. See Exhibit 6
(Loan Repayment and Interest Checks).

f. An unbalanced “tax check” scheme through which Plaintiffs caused
Compass Marketing to grossly overpay Daniel White’s and Michael
White’s salaries and grossly overwithhold income taxes forwarded to tax
authorities as a means to launder stolen funds by creating and pocketing
substantial tax refund payments.

g. The payment over many years of purported business expenses in the form
of attorney’s malpractice insurance being filtered alternately through Daniel
White’s checking account and other non-business accounts. For each year
the policy was in place, Daniel White was otherwise employed as an
Assistant State’s Attorney for St. Mary’s County. See Exhibit 7 (HUB
Insurance payments).
While each of these acts of misconduct gives Compass Marketing the need to examine each of
their individual bank accounts and any accounts they opened in the name of Compass Marketing,

as well as communications to/from the bank about their accounts, the payments regarding Chip

DiPaula are particularly noteworthy here. It is a rather remarkable revelation that Michael White

 

° The commingling of funds goes back at least ten years. To avoid overburdening the court, Compass Marketing has
included only a selection.

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signed a check for $65,000 made payable to Daniel J. White from Compass Marketing’s operating
account with a memo that states “Final Payments to James DiPaula and Patrick Miller” (who are
former employees of Compass Marketing who started a business that competes with Compass
Marketing). See Exhibit 4. Likewise, two month prior Daniel White drew a cashier’s check from
an account held in his name at M&T Bank for a $10,000 payment to Chip DiPaula. /d. If this
check constituted a legitimate business payment for Compass Marketing, why would it need to
pass through Daniel White’s personal bank account first? The fact that this check passed through
Daniel White’s personal bank account strongly suggests misappropriation of funds and perhaps a
laundering scheme of some kind that certainly makes discovery of bank accounts opened by Daniel
White and Michael White (and checks received and written by Daniel White and Michael White)
relevant. Adding to this suspicion is the fact that Daniel White paid a sum of only $10,000 from
an M&T Bank account purportedly to Chip DiPaula only two months earlier. /d. Further
illustrating the need for such discovery is the number of checks were drawn on the undisclosed
bank account that appear to have been deposited into Daniel White and Michael White’s personal
bank accounts, and the right of Compass Marketing to discover where the money went. See,
Exhibit 6. To preclude production of the requested information would undermine Compass
Marketing’s right to defend itself.

Moreover, it would be a waste of legal and judicial resources if discovery related to
Compass Marketing’s defenses were required to be delayed until after a hearing on the pending
motions. Such as result would lead to duplicative subpoenas and depositions of parties and third-
parties. Cf Oce N. Am., Inc. v. MCS Servs., Civ Action WMN-10-984, 2011 U.S. Dist. LEXIS
162889, at *6 (D. Md. Mar. 1, 2011) (granting a stay on discovery related to counterclaims and

noting the potential for “inconvenient and expensive duplication of discovery”); Fed. R. Civ. Pro.

Document received by the VA Arlington 17th Circuit Court.
